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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS
                                EASTERN DIVISION

                                                             CHAPTER 7
                                                             CASE NO. 18-14276 - MSH
 ______________________________
                                )
 In Re:                         )
                                )             CERTIFICATION OF CONFERENCE
 Joan M. Figuereo-Castillo, and )             AND WRITTEN REPORT
 Yuridania D. Suero,            )             OUTLINING PROPOSED
               Debtors          )             DISCOVERY PLAN
 ______________________________)
                                )
 Shamrock Finance LLC,          )
               Plaintiff        )
                                )             Adversary Proceeding
 v.                             )
                                )             No. 19-01014
 Joan M. Figuereo-Castillo,     )
               Defendant        )
 ______________________________)

        Pursuant to Fed. R. Civ. P. Rule 26(f), as made applicable herein by Rule 7026 of the
 Federal Rules of Bankruptcy Procedure, Plaintiff Shamrock Finance LLC (“Plaintiff”) and
 Defendant Joan M. Figuereo-Castillo (“Defendant”) hereby file this certification and written
 report outlining a proposed discovery plan. This discovery plan does not constitute a change
 from that plan set forth by the Court’s Pretrial Order dated March 19, 2019.


    A. CERTIFICATION
        The undersigned hereby certify that on April 3, 2019 they conferred by telephone
 pursuant to Fed. R. Civ. P. Rule 26(f), as made applicable by Rule 7026 of the Federal Rules
 of Bankruptcy Procedure, to consider the nature and basis of their claims, defenses and the
 possibility for the prompt settlement or resolution of the above-captioned adversary
 proceeding, and to develop a proposed discovery plan.
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    B. PROPOSED DISCOVERY PLAN
        The parties propose the following discovery plan:
            a. Automatic required disclosure pursuant to Fed. R. Civ. P. Rule 26(a)(1) and
                (2), as made applicable by Rule 7026 of the Federal Rules of Bankruptcy
                Procedure, will be made on or before April 17, 2019;
            b. All discovery shall be completed on or before June 12, 2019, unless the Court
                upon appropriate motion alters the time and manner of discovery;
            c. The parties shall complete and file a Joint Pretrial Memorandum on or before
                August 12, 2019.
        The parties currently do not believe that any changes are necessary to the manner of
and limitations on discovery provided by the rules of this Court.


    C. AUTOMATIC DISCLOSURES
        The parties state that they will comply with the automatic disclosure provision of
 Rule 26(a)(1) and (2) on or before April 17, 2019 as required by Rule 26(c)


    D. ESTIMATED LENGTH OF TRIAL
        The parties estimate that trial will take no more than one (1) day.


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                                                                    Certification and Discovery Plan
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                                                 Respectfully submitted,
                                                 SHAMROCK FINANCE LLC
                                                 By its attorney,


                                                 /s/ James J. McNulty
                                                 James J. McNulty, Esq. BBO # 339940
                                                 40 Court Street, 11th Floor
                                                 Boston, MA 02108-2202
                                                 Tel. No. (617) 263-3300
                                                 jjm@jjmcnultylaw.com
    Dated: April 16, 2019


                                                 Respectfully submitted,
                                                 JOAN M. FIGUEREO-CASTILLO
                                                 By his attorney,


                                                 /s/ Theodore W. Beauparlant*
                                                 Theodore W. Beauparlant, Esq.
                                                 25 Washington Square
                                                 Haverhill, MA 01830
                                                 Tel. No. (978) 521-4477
                                                 beauparlantlaw@aol.com
                                                 BBO No. 553763

    Dated: April 16, 2019


 * Signed with permission pursuant to MLBR Appendix 8, Rule 8.




                                                           Certification and Discovery Plan
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                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS
                               EASTERN DIVISION

                                                           CHAPTER 7
                                                           CASE NO. 18-14276 - MSH
 ______________________________
                                )
 In Re:                         )
                                )           CERTIFICATE OF SERVICE
 Joan M. Figuereo-Castillo, and )
 Yuridania D. Suero,            )
               Debtors          )
 ______________________________)
                                )
 Shamrock Finance LLC,          )
               Plaintiff        )
                                )           Adversary Proceeding
 v.                             )
                                )           No. 19-01014
 Joan M. Figuereo-Castillo,     )
               Defendant        )
 ______________________________)

         I, James J. McNulty, Esq., counsel for SHAMROCK FINANCE LLC hereby certify
 that on this 16th day of April, 2019 I served the foregoing Certification of Conference and
 Written Report Outlining Proposed Discovery Plan and Certificate of Service by causing
 same to be filed with the Bankruptcy Court and through ECF system via e-mail at the address
 below:

        Counsel for Defendant
        Theodore W. Beauparlant, Esq.
        25 Washington Square
        Haverhill, MA 01830
        Tel. No. (978) 521-4477
        beauparlantlaw@aol.com

                                                    /s/James J. McNulty
                                                    James J. McNulty, Esq. BBO# 339940
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                                                    Boston, MA 02108
                                                    Tel. 617-263-3300
                                                    jjm@jjmcnultylaw.com


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